     Case 8:19-cr-00061-JVS Document 1131 Filed 04/16/24 Page 1 of 2 Page ID #:28305




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15                               UNITED STATES DISTRICT COURT
16
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
17
18    UNITED STATES OF AMERICA,              NO. 8:19-CR-00061-JVS (KESx)
19                Plaintiff,                 PLAINTIFF’S STATUS REPORT
20                       v.                  REGARDING DISPOSITION OF
                                             ONE HONDA AIRCRAFT.
21
      MICHAEL AVENATTI,
22            Defendant.
23
24    ALEXIS GARDNER; JASON FRANK
25    LAW, PLC; SPRING CREEK
      RESEARCH, LLC; AND RICHARD
26    A. MARSHACK, CHAPTER 7
27    TRUSTEE FOR EAGAN AVENATTI,
      LLP,
28
                  Petitioners.
     Case 8:19-cr-00061-JVS Document 1131 Filed 04/16/24 Page 2 of 2 Page ID #:28306




1           The Plaintiff United States of America (the “government”) submits this status
2     report to report on the disposition of a certain Honda aircraft, registration number
3     N227WP, aircraft serial number 42000029, which a third-party contractor for the
4     Internal Revenue Service (“IRS”) sold pursuant to the Court’s September 1, 2023, Order
5     Establishing Procedures Governing the Sale of One Honda Jet. ECF 1130. The Honda
6     aircraft is also the defendant in the stayed civil forfeiture complaint and is referred to
7     herein as the “defendant aircraft.” U.S. v. One Honda Aircraft, 8:19-CV-1988-JVS
8     (KESx).
9           On December 6, 2023, the IRS’s third-party contractor Amentum and CWS
10    Marketing Group sold the defendant aircraft pursuant to a marketing and sales plan set
11    forth in the materials supplied by Amentum and CWS Marketing Group and filed with
12    the Court on September 1, 2023. ECF 1129. Amentum has now issued its Final Cost
13    Report (attached hereto as Exhibit A), which shows that the defendant aircraft sold for
14    $2,760,000.00, and as of March 20, 2024, had incurred storage, consignment,
15    disposition, maintenance and sales expenses of $240,274.44. See Exhibit A. As of the
16    week of April 8, 2024, the IRS has caused the final net sales proceeds of $2,519,725.56
17    to be deposited with the clerk of the court.
18
      DATED: April 16, 2024                   E. MARTIN ESTRADA
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25                                             /s/ James E. Dochterman
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